Case 2:04-Cr-20309-BBD Document 44 Filed 04/19/05 Page 1 of 2 Page|D 38

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRIC'I` OF TENNES§ELE`ED ‘N OpEN COURT

WESTERN DIVISION
DATE: ‘7'~(?~0$

UNITED STATES oF AMERICA, TlME:_LO_~'QML_

Plaintiff, erTrALS:_¢¢¢__

vs. Cr. No. 04-20309-D

ROBERT LORD,

Defendant.

 

ORDER RESERVING RIGHT TO APPEAL

 

On April 19, 2005, defendant Robert Lord, with the approval
of the Court and the United States entered a conditional plea of
guilty in the above Cause, and reserved the right to appeal the
denial of his motion to suppress evidence pursuant to Rule
11(a)(2) of the Federal Rules of Criminal Procedure.

lt is SO ORDERED,. ADJUDGED AND DECREED this 19th day of

Aprii, 2005.

,

/fUnited State§'District Court Judqe

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-20309 Was distributed by faX, mail, or direct printing on
Apri120, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Lee HoWard Gerald

LAW OFFICE OF LEE GERALD
8 S. Third St.

Fourth Floor

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

